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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
—————————————————————————X
HEALTH & WELFARE FUND OF THE UNITED FOOD
& COMMERCIAL WORKERS LOCAL 2013, AFL-CIO
BY ITS TRUSTEES LOUIS MARK CAROTENUTO                                       COMPLAINT
and STANLEY FLEISHMAN,
                                                                            19-CIV-9345
                                      Plaintiff,
               -against-

ELENER ASSOCIATES, LLC d/b/a RIVERDALE MANOR
HOME FOR ADULTS,

               Defendant.
—————————————————————————X

       Plaintiff HEALTH & WELFARE FUND OF THE UNITED FOOD & COMMERCIAL

WORKERS LOCAL 2013, AFL-CIO BY ITS TRUSTEES LOUIS MARK CAROTENUTO and

STANLEY FLEISHMAN (“LOCAL 2013 HEALTH & WELFARE FUND”), by its attorneys,

BRADY McGUIRE & STEINBERG, P.C., for its Complaint, respectfully alleges:

       1.      This is an action to recover health and welfare benefit contributions owed to an

employee fringe benefit trust fund and for the breach of the terms and conditions of a collective

bargaining agreement pursuant to the Employee Retirement Income Security Act of 1974, as

amended, 29 U.S.C. § 1001 et seq. (“ERISA”) and Section 301 of the Labor Management

Relations Act of 1947, as amended, 29 U.S.C. § 185 (“LMRA”), respectively.

                                  JURISDICTION & VENUE

       2.      The subject matter jurisdiction of this Court is invoked pursuant to Sections 502

and 515 of ERISA, 29 U.S.C. §§ 1132 and 1145, along with Section 301(a) of the LMRA, 29

U.S.C. § 185(a).
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       3.      Venue is properly laid in the Southern District of New York pursuant to Section

502(e)(2) of ERISA, 29 U.S.C. § 1132(e)(2) and Section 301 of the LMRA, 29 U.S.C. § 185, in

that, as shown below, Defendant ELENER ASSOCIATES, LLC d/b/a RIVERDALE MANOR

HOME FOR ADULTS (“RIVERDALE MANOR”) resides in Bronx County, City of New York

and State of New York.

                                         THE PARTIES

       4.      Plaintiff LOCAL 2013 HEALTH & WELFARE FUND is a joint trustee fund

established by a trust indenture pursuant to Section 302 of the LMRA, 29 U.S.C. § 186. The

Trustees of the LOCAL 2013 HEALTH & WELFARE FUND maintain the subject plan at an

office located at 9235 Fourth Avenue, Brooklyn, New York.

       5.      LOUIS MARK CAROTENUTO and STANLEY FLEISHMAN are Trustees of

Plaintiff LOCAL 2013 HEALTH & WELFARE FUND and are “fiduciaries” within the meaning

of Section 3(21) of ERISA, 29 U.S.C. § 1002(21).

       6.      Plaintiff LOCAL 2013 HEALTH & WELFARE FUND is an employee health

benefit plan within the meaning of Section 3(1) of ERISA, 29 U.S.C. § 1002(1) and established

for the purpose of providing medical benefits to eligible participants.

       7.      Plaintiff LOCAL 2013 HEALTH & WELFARE FUND constitutes a multi-

employer/employee benefit plan within the meaning of Sections 3(3) and 3(37) of ERISA, 29

U.S.C. §§ 1002(3) and (37).

       8.      Upon information and belief, Defendant RIVERDALE MANOR was and still is a

New York corporation with its principal place of business located at 6355 Broadway, Bronx,

New York.
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       9.      Upon information and belief, Defendant RIVERDALE MANOR was and still is a

foreign corporation duly licensed to do business in the State of New York.

       10.     Upon information and belief, Defendant RIVERDALE MANOR was and still is a

foreign corporation doing business in the State of New York.

       11.     Upon information and belief, Defendant RIVERDALE MANOR is an employer

within the meaning of Section 3(5) of ERISA, 29 U.S.C. § 1002(5) and Section 301 of the

LMRA, 29 U.S.C. § 185.

                     AS AND FOR A FIRST CAUSE OF ACTION
               (BREACH OF COLLECTIVE BARGAINING AGREEMENT)

       12.     Plaintiff LOCAL 2013 HEALTH & WELFARE FUND repeats and realleges each

and every paragraph of the Complaint numbered 1 through 11 inclusive with the same force and

effect as though more fully set forth at length herein.

       13.     At all times relevant hereto, Defendant RIVERDALE MANOR agreed to be

bound by the terms and conditions of a collective bargaining agreement with United Food &

Commercial Workers Local 2013, AFL-CIO (“Local 2013”) (hereinafter referred to as the

“Collective Bargaining Agreement”).

       14.     Local 2013 is a labor organization as defined in Section 2 of the LMRA, 29

U.S.C. § 152, having its principal office for the transaction of business located at 9235 Fourth

Avenue, Brooklyn, New York.

       15.     In accordance with the underlying Collective Bargaining Agreement and the Trust

Agreement establishing Plaintiff LOCAL 2013 HEALTH & WELFARE FUND, Defendant

RIVERDALE MANOR consented to the performance of an audit of its books and records to

determine whether said Defendant had paid all of the required fringe benefit contributions to
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Plaintiff LOCAL 2013 HEALTH & WELFARE FUND in accordance with the Collective

Bargaining Agreement for the period of January 1, 2015 through December 31, 2016.

       16.     That on or about September 6, 2019, the results of said audit were detailed by the

auditor for Plaintiff LOCAL 2013 HEALTH & WELFARE FUND which determined that

Defendant RIVERDALE MANOR had failed to provide the contractually required fringe benefit

contributions with interest in the amount of $2,544.85 for the period of January 1, 2015 through

December 31, 2016.

       17.     Defendant RIVERDALE MANOR remains delinquent in making the proper

contribution payments and has failed to pay any portion of the outstanding contributions and

interest owed to Plaintiff LOCAL 2013 HEALTH & WELFARE FUND as detailed above.

       18.     Accordingly, as a direct and proximate result of the defaults, omissions and

breaches of the Collective Bargaining Agreement by Defendant RIVERDALE MANOR, said

Defendant is liable to Plaintiff LOCAL 2013 HEALTH & WELFARE FUND in the amount of

$2,544.85.

                       AS AND FOR A SECOND CAUSE OF ACTION
                          (BREACH OF ERISA OBLIGATIONS)

       19.     Plaintiff LOCAL 2013 HEALTH & WELFARE FUND repeats and realleges each

and every paragraph of the Complaint numbered 1 through 18 inclusive with the same force and

effect as though more fully set forth at length herein.

       20.     The failure of Defendant RIVERDALE MANOR to pay the required fringe

benefit contributions along with interest to Plaintiff LOCAL 2013 HEALTH & WELFARE

FUND for the period audited of January 1, 2015 through December 31, 2016 in the amount of

$2,544.85 is a violation of Section 515 of ERISA, 29 U.S.C. § 1145 which requires that
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employers pay fringe benefit contributions in accordance with the terms and conditions of the

applicable collective bargaining agreement.

       21.       Defendant RIVERDALE MANOR remains delinquent in making the proper

contribution payments and has failed to pay any portion of the outstanding contributions and

interest owed to Plaintiff LOCAL 2013 HEALTH & WELFARE FUND as detailed above.

       22.       Section 502 of ERISA, 29 U.S.C. § 1132 provides that upon a finding of an

employer’s violation of Section 515 of ERISA, 29 U.S.C. § 1145, the Court shall award to

Plaintiff Trust Funds: (a) the amount owed in unpaid fringe benefit contributions; together with

(b) interest on the unpaid contributions computed at the rate provided for under the Plaintiff

Trust Fund’s Plan, or if none, at the rate set forth in the United States Internal Revenue Code at

26 U.S.C. § 6621; (c) liquidated damages; (d) reasonable attorneys’ fees; (e) auditor’s fees; and

(f) the costs and disbursements of the action.

       23.       Accordingly, as a direct and proximate result of the breach of the Collective

Bargaining Agreement by Defendant RIVERDALE MANOR and as a result thereof having

violated Section 515 of ERISA, 29 U.S.C. § 1145, Defendant RIVERDALE MANOR is liable to

Plaintiff LOCAL 2013 HEALTH & WELFARE FUND in the amount of $2,544.85, together with

accumulated additional interest on the unpaid and/or untimely paid principal amount due and

owing, statutory damages, reasonable attorneys’ fees, auditor’s fees in the amount of $3,540.00

and the costs and disbursements incurred in this action pursuant to Section 502 of ERISA, 29

U.S.C. § 1132.

       WHEREFORE, Plaintiff HEALTH & WELFARE FUND OF THE UNITED FOOD &

COMMERCIAL WORKERS LOCAL 2013, AFL-CIO demands judgment on the First Cause of
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Action as against Defendant ELENER ASSOCIATES, LLC d/b/a RIVERDALE MANOR

HOME FOR ADULTS in the amount of contributions with interest totaling $2,544.85.

      WHEREFORE, Plaintiff HEALTH & WELFARE FUND OF THE UNITED FOOD &

COMMERCIAL WORKERS LOCAL 2013, AFL-CIO demands judgment on the Second Cause

of Action as against Defendant ELENER ASSOCIATES, LLC d/b/a RIVERDALE MANOR

HOME FOR ADULTS in the amount of contributions and totaling $2,544.85, together with:

      a.     Prejudgment interest, computed at the plan rate or the applicable United States
             Treasury rate from the date on which the first payment was due on the total
             amount owed by Defendant, in accordance with Section 502(g)(2)(B) of ERISA,
             29 U.S.C. § 1132(g)(2)(B);

      b.     Liquidated damages in accordance with Section 502(g)(2)(C) of ERISA, 29
             U.S.C. § 1132(g)(2)(C);

      c.     Attorneys’ fees, auditor’s fees in the amount of $3,540.00, costs and
             disbursements in accordance with Section 502(g)(2)(D) of ERISA, 29 U.S.C. §
             1132(g)(2)(D); and

      d.     Such other and further relief as the Court may deem just and proper in accordance
             with Section 502(g)(2)(E) of ERISA, 29 U.S.C. § 1132(g)(2)(E).

Dated: Tarrytown, New York
       October 9, 2019

                                          Respectfully submitted,

                                          BRADY McGUIRE & STEINBERG, P.C.

                                   By:    /s/ James M. Steinberg

                                          James M. Steinberg, Esq.
                                          Attorneys for Plaintiff
                                          U.F.C.W. Local 2013 Health & Welfare Fund
                                          303 South Broadway, Suite 234
                                          Tarrytown, New York 10591
                                          (914) 478-4293
